         Case 1:14-cv-00209-SPB Document 347 Filed 04/26/19 Page 1 of 2




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

   PENNSYLVANIA GENERAL ENERGY                  )
   COMPANY, LLC,                                )
                                                )    Civil Action No. 14-cv-209
                  Plaintiff,                    )
                                                )    District Judge Susan Paradise Baxter
   v.                                           )
                                                )
   GRANT TOWNSHIP,                              )
                                                )
                  Defendant.                    )

                                    NOTICE OF APPEAL

        Notice is hereby given that Grant Township, defendant in the above-named case, hereby

appeals to the United States Court of Appeals for the Third Circuit from the Order dated March

31, 2019 and entered April 1, 2019 (Dkt. No. 336), and Memorandum Opinion dated March 31,

2019 and entered April 1, 2019 (Dkt. No. 335), awarding Plaintiff attorney’s fees and costs.


Dated: April 26, 2019                               Respectfully submitted,

                                                    /s/ Karen Hoffmann
                                                    Karen Hoffmann, Esq.
                                                    PA I.D. No. 323622
                                                    Syrena Law
                                                    128 Chestnut St. Ste. 301A
                                                    Philadelphia, PA 19106
                                                    (412) 916-4509
                                                    karen@syrenalaw.com

                                                    Counsel for Defendant Grant Township
        Case 1:14-cv-00209-SPB Document 347 Filed 04/26/19 Page 2 of 2



                                CERTIFICATE OF SERVICE

       I hereby certify that I electronically filed a true and correct copy of the foregoing

NOTICE OF APPEAL on April 26, 2019, using the Court’s CM/ECF system, which will

automatically serve a copy upon all counsel of record.



                                              By:     /s/ Karen Hoffmann
                                                      Karen Hoffmann, Esq.
